O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No: 5:01CR05-20
                   JOHN ROMERO, a/k/a "Link"
                                                                            )   USM No: 45221-054
Date of Previous Judgment: October 28, 2002                                 )   Tanzania Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 262         months is reduced to 240 months                .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
                                                                                                                35 (career
Previous Offense Level:                37                                       Amended Offense Level:          offender)
Criminal History Category:             VI                                       Criminal History Category:      VI
Previous Guideline Range:              360         to life       months         Amended Guideline Range:        292       to 365   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release from
incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local Residential
Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.

Except as provided above, all provisions of the judgment dated                      October 28, 2002   shall remain in effect.
IT IS SO ORDERED.

Order Date:          March 30, 2009


Effective Date: March 30, 2009
                       (if different from order date)
                    Case 5:01-cr-00005-KDB                       Document 855             Filed 03/30/09        Page 1 of 2
Case 5:01-cr-00005-KDB   Document 855   Filed 03/30/09   Page 2 of 2
